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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
ROBERTO MATA,                                                   :
                                                                 :   Civil Action No. 22-CV-1461(PKC)
                                    Plaintiff,                   :
                                                                 :
         vs.                                                     :
                                                                 :
AVIANCA, INC.,                                                   :
                                                                 :
                                    Defendant.                   :
                                                                 :
                                                                 :
---------------------------------------------------------------- x




    REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANT’S
          MOTION TO DISMISS PLAINTIFF’S VERIFIED COMPLAINT
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                                      Preliminary Statement

        Defendant AVIANCA, INC. (“Avianca”), by and through its attorneys, Condon & Forsyth

LLP, respectfully submit this Reply Memorandum of Law in further support of its Motion to

Dismiss the claims alleged in Plaintiff’s Verified Complaint pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, on the ground that Plaintiff’s action is time-barred pursuant to

Article 35 of the Montreal Convention.

        Plaintiff does not dispute that this action is governed by the Montreal Convention, and

Plaintiff has not cited any existing authority holding that the Bankruptcy Code tolls the two-year

limitations period or that New York law supplies the relevant statute of limitations. Although

Plaintiff ostensibly cites to a variety of cases in opposition to this motion, the undersigned has been

unable to locate most of the case law cited in Plaintiff’s Affirmation in Opposition, and the few

cases which the undersigned has been able to locate do not stand for the propositions for which

they are cited.

        For these reasons, Avianca respectfully submits that the Verified Complaint should be

dismissed as untimely.

                                             Argument

   I.      There are no cases holding that the Bankruptcy Code tolls the two-year limitations
           period established in Article 35 of the Montreal Convention.

        As set forth in Avianca’s original moving papers, it is well established that local tolling

rules do not apply to the limitations period set forth in Article 35 of the Montreal Convention. See

Fishman v. Delta Air Lines, Inc., 132 F.3d 138, 144 (2d Cir. 1998); Campbell v. Air Jamaica, Ltd.,

760 F.3d 1165, 1117 (11th Cir. 2014); LAM Wholesale, LLC v. United Airlines, Inc., No. 18-cv-

3794, 2019 WL 1439098, at *2 (E.D.N.Y. Mar. 31, 2019); Mateo v. JetBlue Airways, 847 F. Supp.

2d 383, 387-88 (E.D.N.Y. 2012); see also 17 N.Y. Jur. 2d Carriers § 542 (2023).
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       In support of his position that the Bankruptcy Code tolls the two-year limitations period,

Plaintiff cites to “Varghese v. China Southern Airlines Co., Ltd., 925 F.3d 1339 (11th Cir. 2019).”

The undersigned has not been able to locate this case by caption or citation, nor any case bearing

any resemblance to it. Plaintiff offers lengthy quotations purportedly from the “Varghese” case,

including: “We [the Eleventh Circuit] have previously held that the automatic stay provisions of

the Bankruptcy Code may toll the statute of limitations under the Warsaw Convention, which is

the precursor to the Montreal Convention . . . We see no reason why the same rule should not apply

under the Montreal Convention.” The undersigned has not been able to locate this quotation, nor

anything like it any case. The quotation purports to cite to “Zicherman v. Korean Air Lines Co.,

Ltd., 516 F.3d 1237, 1254 (11th Cir. 2008).” The undersigned has not been able to locate this case;

although there was a Supreme Court case captioned Zicherman v. Korean Air Lines Co., Ltd., that

case was decided in 1996, it originated in the Southern District of New York and was appealed to

the Second Circuit, and it did not address the limitations period set forth in the Warsaw

Convention. 516 U.S. 217 (1996).

       A second, similar quotation from “Varghese” purports to cite to “Miller v. United Airlines,

Inc., 174 F.3d 366, 371-72 (2d Cir. 1999)” and In re Air Crash Disaster Near New Orleans, La.,

821 F.2d 1147, 1165 (5th Cir. 1987). The undersigned was not able to locate the “Miller” case;

although there is a case captioned Miller v. United Airlines, Inc., that case did not address the

Warsaw Convention, the Bankruptcy Code, or any limitations period. 174 Cal. App. 3d 878

(1985). While the In re Air Crash Disaster case does exist, it also did not address the Bankruptcy

Code or any limitations period.

       Further, both “Varghese” quotations purport to cite to Kaiser Steel Corp. v. W.S. Ranch

Co., 391 U.S. 593, 598 (1968) for the proposition that “[t]he tolling effect of the automatic stay on
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a statute of limitations is generally a matter of federal law.” Putting aside that there is no page 598

in Kaiser Steel, that case concerned the stay of a federal action until a related state court case was

decided, and made no mention of a statute of limitations or its tolling.

         Notwithstanding Plaintiff’s attempt to argue otherwise, courts have made clear that local

tolling rules do not apply to actions governed by the Montreal Convention. Because Plaintiff filed

the present action more than two years after the date of his arrival at his destination, this action

must be dismissed as untimely.

   II.      The statute of limitations set forth in C.P.L.R. § 214(5) does not apply to Plaintiff’s
            claims because the Montreal Convention exclusively governs this action.

         As discussed in Avianca’s original moving papers, the Montreal Convention exclusively

governs claims arising from personal injury sustained during international transportation. See

Montreal Convention, arts. 17, 29; see also King v. American Airlines, 284 F.3d 353, 356-57 (2d

Cir. 2022) (citing El Al Israel Airlines, Ltd. v. Tseng, 525 U.S. 155, 156 (1999)). Accordingly, an

action governed by the Montreal Convention must be brought within the two-year limitations

period as required by Article 35 of the Montreal Convention. See Fishman, 132 F.3d at 143-45;

Mateo, 847 F. Supp. 2d at 387-88; von Schoenebeck v. Koninklijke Luchtvaart Maatschappij N.V.,

659 F. App’x 392, 393 (9th Cir. 2016).

         There is no dispute that the Plaintiff was travelling as a passenger on an international flight

when he allegedly sustained injury after a metal serving cart struck his left knee. Thus, the

Montreal Convention governs the rights and liabilities of the parties and, therefore, preempts state

law.
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       Plaintiff asserts that New York courts have concurrent jurisdiction over actions governed

by the Montreal Convention. 1 Even if that is true, a state court that adjudicates a claim arising

under federal law must apply the statute of limitations contained in that federal law. See Felder v.

Casey, 487 U.S. 131, 153-54 (1988) (White, J. concurring) (“‘[I]f [a federal claim] be available in

a state court to found a right, and the record shows a lapse of time after which the [A]ct says that

no action shall be maintained, the action must fail in the courts of a State as in those of the United

States.’” (quoting Atlantic Coast Line R. Co. v. Burnette, 239 U.S. 199, 201 (1915))); see also

Podraza v. Carriero, 212 A.D.2d 331, 335 (4th Dep’t 1995) (“The accrual of a cause of action

based on a Federal Statute is governed by Federal law.”); O’Hara v. Bayliner, 89 N.Y.2d 636, 645

(1997) (refusing to apply New York’s Statute of Limitation and its tolling provisions to a federal

maritime case because doing so would be outcome-determinative and contradict Congressional

intention of a uniform standard). Accordingly, whether a New York court could adjudicate this

federal question has no bearing on whether this Court could apply a statute of limitations contained

in the New York Civil Practice Laws and Rules.

       In any case, although the New York federal courts typically adjudicate claims arising under

the Montreal Convention, state courts adjudicating claims arising under the Warsaw or Montreal

Convention consistently apply the limitations periods set forth therein. See, e.g., Kahn v. Trans.



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  Plaintiffs cites the following cases in support of these arguments: (1) “Shaboon v. Egyptair, 2013
IL App (1st) 111279-U (Ill. App. Ct. 2013)”; (2) “Peterson v. Iran Air, 905 F. Supp. 2d 121
(D.D.C. 2012)”; (3) “Martinez v. Delta Airlines, Inc., 2019 WL 4639462 (Tex. App. Sept. 25,
2019)”; and (4) “Estate of Durden v. KLM Royal Dutch Airlines, 2017 WL 2418825 (Ga. Ct. App.
June 5, 2017)”. The undersigned could not find these cases. Plaintiff also cites to “Ehrlich v.
American Airlines, Inc., 360 N.J. Super. 360 (App. Div. 2003).” The undersigned could not locate
this case, but notes that there is a Second Circuit case captioned Ehrlich v. American Airlines, Inc.
regarding the ability of a passenger to recover psychological damages following an incident in
international transportation. 360 F.3d 366 (2d Cir. 2004).
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World Airlines, Inc., 82 A.D.2d 696, 705-06 (N.Y. 1981) (applying the two-year limitations period

to an action governed by the Warsaw Convention and refusing to apply New York law governing

tolling because “article 29 was intended to be in the nature of a condition precedent to suit”);

Astudillo v. Port Auth. of New York & New Jersey, 7 Misc. 3d 1004(A), *4 (Sup. Ct. 2004) (same).

Similarly, federal courts refuse to apply state law-based statutes of limitation to actions governed

by the Montreal Convention. See, e.g., LAM Wholesale, 2019 WL 1439098, at *2.

       The Montreal Convention preempts all claims that arise within the scope of the

Convention, regardless of whether such claims sound in tort or contract, and, as a treaty, the

Convention supersedes state law and policy. Because Plaintiff’s claims are squarely within the

scope of the Montreal Convention, Plaintiff was required to commence this action within two years

of his arrival. He did not do so, and so his claims should be dismissed.

                                           Conclusion

       Based on the foregoing, Defendant Avianca, Inc., respectfully requests that the Court grant

summary judgment in its favor and dismiss Plaintiff’s Complaint in its entirety, together with such

other and further relief as this Court deems appropriate under the circumstances.

Dated: New York, New York
       March 15, 2023
                                                     CONDON & FORSYTH LLP

                                                     By: ____________________________
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